Case 2:04-cv-02752-.]DB-dkv Document 12 Filed 05/09/05 Page 1 of 3 Page|D 23

 

IN THE UNITED sTATES DISTRICT COURT " MB
FOR THE W ESTERN DISTR_[CT OF TENNESSEE _r:_;_ ;_._ __E § m [!,_`-_ § vi
WESTER-N DIVISION 1 -.' z+ : :;_ » t
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GORDON NEWSOME, GAVIN an o:= n\z, nemmers

NEWSOME, CHARISSA NEWSOME,
and DESTINY NEWSOME, Minors, by
HAZEL D. THOMPSON, Guardian
and Next Friend,
Plaintiff,
No. 04-2752-BV
vs.

PR[MERICA LIFE INSURANCE CO. and
STEVE A. STOKES,

Defendants.

 

ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL OF RECORD

 

This cause came on to be heard on May 4, 2005, upon the Motion of Weissman,
OstroW and Mitchell for permission to Withdraw as counsel of record for Plaintiff in the
above-entitled cause, upon conference with Lang Wiseman, Attorney for Defendants, and
the Honorable Diane K. Vescovo, and upon the record as a Whole, and

IT APPEAR_ING TO THE COURT that after review of the record and hearing the
statements of counsel, the Court is of the opinion that the motion should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED:

That the Motion to Withdraw as Counsel of Record is granted and Weissman,
Ostrow & Mitchell are hereby relieved as counsel of record for Hazel D. Thompson,
Guardian and Next Friend of Gordon Newsorne, Gavin Newsome, Charissa Newsome, and

Destiny Newsome, Minors, in this action.

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JUDGE

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DATE y

 

APPROVED FOR ENTRY:

WEB/U/::M/ OSTROW & MITCHELL

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WISEMAN, BIGGS & BRAY

WN/

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CERTIFICATE OF SERVICE

I, Max L. Ostrow, certify that a copy of the foregoing document was sent by
regularUS. Mail, postage prepaid, to Mr. Lang Wiseman, Attorney tLaw, 1665 Bonnie

\,r

Lane, S i e 106, Mernphis, TN380]6, fax 901- 383- 6599, this 3 day of___
' ,2.005

Max L`./ Ostrow

c:\thompson\order withdraw

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 12 in
case 2:04-CV-02752 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Jimmy Moore

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Honorable J. Breen
US DISTRICT COURT

